




















NO. 07-10-0083-CV

&nbsp;

IN THE
COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL B

&nbsp;



OCTOBER
21, 2010

&nbsp;



&nbsp;

In the Interest of K.M.M. and E.J.G., Children

___________________________

&nbsp;

FROM THE 100TH DISTRICT COURT OF CARSON
COUNTY;

&nbsp;

NO. 10,341; HONORABLE STUART MESSER,
PRESIDING

&nbsp;



&nbsp;

Opinion

&nbsp;



&nbsp;

Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Santiago
Jimmy Montoya (Jimmy) challenges the legal and factual sufficiency of the
evidence underlying the decision to terminate the parental relationship between
him and E.J.G.&nbsp; He also complains of the
failure of the trial court to appoint an attorney ad litem or amicus attorney
for the child.&nbsp; We address only the latter
issue for it is dispositive of the appeal, and upon addressing it, reverse the
judgment.&nbsp; &nbsp;&nbsp;&nbsp;

&nbsp;Section 107.021 of the
Texas Family Code states that:

[i]n
a suit requesting termination of the parent-child relationship that is not filed
by a governmental entity, the court shall, unless the court finds that the
interests of the child will be represented adequately by a party to the suit
whose interests are not in conflict with the child’s interests, appoint one of
the following:

&nbsp;

(1)&nbsp; an amicus attorney; or

&nbsp;

(2)&nbsp; an attorney ad litem.

Tex. Fam. Code Ann. §107.021(a-1) (Vernon&nbsp; 2008).&nbsp;&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Katrina alleged in her second
amended petition for divorce (through which document she also sought
termination of the parent-child relationship) that she could adequately
represent the interests of E.J.G. and that her interests did not conflict with those
of the child.&nbsp; Jimmy generally denied the
allegations contained in that amended petition but also averred that he was the
presumed father of the youth and that the boy should be appointed a guardian ad
litem.&nbsp; Upon
searching the record, we found no order appointing the child either a guardian
ad litem, an amicus attorney, or an attorney ad litem.&nbsp; Furthermore,
neither parent suggested that any such appointment was made.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Also missing from the record is any
finding that Katrina would or could adequately represent E.J.G.&nbsp; The latter is problematic because without
such a finding, the appointment of either an amicus attorney or attorney ad litem was mandatory. &nbsp;&nbsp;See In
re M.D.S., 1 S.W.3d 190, 195 (Tex. App.–Amarillo 1999, no pet.) (discussing
a prior version of §107.021(a-1) of the Family Code with similar language); see also In the Interest of R.J.C., No.
04-09-0106-CV, 2010 Tex. App. Lexis 1686
at *8-9 (Tex. App.–San Antonio March 10, 2010, no pet.) (discussing
§107.021(a-1)).&nbsp; Indeed, it has been
recognized that where parents are adversaries in a suit to terminate one
parent’s rights, the trial court can seldom find that one party adequately
represents the interests of the children involved or that their interests are
not adverse.&nbsp; In re M.D.S., 1 S.W.3d at 195 n.2; Barfield v. White, 647 S.W.2d 407, 409
(Tex. App.–Austin 1983, no writ).&nbsp;
Moreover, the failure to
abide by §107.021 may be raised for the first time on appeal.&nbsp; Turner
v. Lutz, 654 S.W.2d 57, 58 (Tex. App.–Austin 1983, no writ) (discussing
former §11.10 of the Family Code, a provision containing similar language); Arnold v. Caillier,
628 S.W.2d 468, 469-70 (Tex. App.–Beaumont 1981, no writ) (discussing the
same).&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Katrina nonetheless urges us to imply
that the trial court made the requisite finding and concluded that a home study
conducted before the court terminated Jimmy’s parental rights constituted the
appointment of a disinterested party to represent E.J.G.&nbsp; Yet, we can do neither.&nbsp; Because no specific finding entered by the
trial court encompassed an element of whether Katrina could adequately
represent E.J.G., no finding may be implied on the matter.&nbsp; Turner
v. Lutz, 654 S.W.2d at 58.&nbsp; Furthermore, the legislature mandated the
appointment of an attorney unless the requisite finding was made.&nbsp; That mandate said nothing about a home study being
sufficient, and we care not to rewrite the statute ourselves.&nbsp; So too do the duties of an attorney ad litem or amicus lend further basis for rejecting Katrina’s
argument.&nbsp; They include the obligation to
participate in the conduct of the litigation to the same extent as an attorney
for a party.&nbsp; Tex. Fam. Code Ann. §107.003 (1) (F) (Vernon&nbsp; 2008).&nbsp;
Nothing of record illustrates that the entity conducting the home study at
bar had or was granted such authority or opportunity.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Simply put, the failure to comply
with §107.021 is error that cannot be treated as harmless due to the serious
nature of the proceedings involved.&nbsp; In re M.D.S., 1 S.W.3d at
195. &nbsp;Accordingly, we reverse that
portion of the final judgment that orders the termination of the parental
relationship between E.J.G. and Santiago Jimmy Montoya and remand it for a new
trial.[1]&nbsp; The remainder of the final judgment is
affirmed.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Brian
Quinn

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Chief
Justice 

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;











[1]
To the extent that Katrina questions Jimmy’s standing to seek the adjudication
of himself as a parent because she alleged he was not, we note that he averred
in answer to her petition that he was the “presumed” father.&nbsp; More importantly, in granting the spouses a
divorce, the trial court found that two children were born to the marriage, one
of whom was E.J.G.&nbsp; No one attacked that
fact finding in the divorce decree.&nbsp; And,
no one can reasonably dispute that a biological father generally has standing
to intervene in an effort to terminate the parent-child relationship between
him and his children.&nbsp; See Tex. Fam. Code Ann. §102.003(a)(1) (Vernon 2008) (stating that the parent of a child has
standing to file a petition in a suit affecting the parent-child relationship);
Tex. Fam. Code Ann. §101.024(a)
(stating that a parent includes a man adjudicated to be the father).







